                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN
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JESSE CLUBB,

                               Plaintiff,
                                                             Case No. 20-cv-1683
v.

MARINETTE COUNTY, et al.,

                        Defendants.
______________________________________________________________________________

              ADVANCED CORRECTIONAL HEALTHCARE, INC.’S
           PARTIAL MOTION TO DISMISS PLAINTIFF’S COMPLAINT
______________________________________________________________________________

        Defendant, Advanced Correctional Healthcare, Inc. (hereinafter “ACH”), by its counsel,

hereby moves the Court to partially dismiss Plaintiff’s Complaint, with prejudice, pursuant to

Federal Rule of Civil Procedure 12(b)(6) on the basis of Plaintiff’s failure to state a claim upon

which relief may be granted. Specifically, Defendant moves for the dismissal of the following

claims against it:

     1. Count 1, denial of medical treatment pursuant to 42 U.S.C. § 1983; and

     2. Count 4, violation of Wis. Stat. § 101.11 (safe place claim).




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       The grounds of this Motion are more fully set forth in the accompanying Brief in Support

of Defendant’s Motion, which is incorporated by reference as if set forth fully at length herein.



                                              Respectfully submitted,

                                              LEIB KNOTT GAYNOR LLC


Dated: December 23, 2020                  By: /s/ Charles R. Starnes
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